                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION
                              Consolidated Civil Action

RALEIGH WAKE CITIZENS
ASSOCIATION, et al.

                              Plaintiffs,

v.                                                                No. 5:15-cv-156

WAKE COUNTY BOARD
OF ELECTIONS,

                              Defendant.



CALLA WRIGHT, et al.,

                              Plaintiffs,

v.                                                                No. 5:13-cv-607

THE STATE OF NORTH CAROLINA,
et al.,

                              Defendants.


                                     [PROPOSED] ORDER

       Upon this Court’s thorough review of Plaintiffs’ Motion for Attorney Fees, Expert Fees,

and Litigation Expenses pursuant to 42 U.S.C. § 1988, 52 U.S.C. § 10310(e), and Fed. R. Civ. P.

54, and after full consideration of all matters brought before the Court regarding the Motion, for

good cause shown it is hereby ordered that:

       1.       The Motion is GRANTED;

       2.       Plaintiffs are awarded attorney fees in the amount of $681,373.95;

       3.       Plaintiffs are awarded expert fees in the amount of $32,813.42;



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        4.       Plaintiffs are awarded non-taxable litigation expenses in the amount of

                 $14,960.24.

        5.       Defendant is accordingly directed to remit a total of $761,961.03 to Plaintiffs

                 within 30 days of the date of this order, with interest accruing at the legal rate

                 thereafter.

It is so ordered.


_________________________________                       _________________________________
Date                                                    The Hon. James C. Dever III
                                                        United States District Judge




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